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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               Case No. 16-cv-62949-BLOOM/Valle

 JANET HOYT,

        Plaintiff,

 v.

 786 ZULEKHA, INC.,
 doing business as Subway,

       Defendant.
 _____________________________________/

                                     ORDER OF DISMISSAL

        THIS CAUSE is before the Court upon the parties’ Stipulation for Approval and Entry

 of Consent Decree Between Plaintiff and Defendant and Dismissal of Case with Prejudice, ECF

 No. [11], filed on January 13, 2017, which indicates that the parties have reached a settlement of

 the claims asserted in this case.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

          1. The Stipulation, ECF No. [11], is APPROVED.

          2. The above-styled action is DISMISSED WITH PREJUDICE.

          3. The Court shall retain jurisdiction for the sole purpose of enforcing the terms of the

              Consent Decree.

          4. All pending deadlines are TERMINATED.

          5. The Clerk of Court shall CLOSE this case.
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                                                    Case No. 16-cv-62949-BLOOM/Valle


        DONE AND ORDERED in Miami, Florida, this 13th day of January, 2017.




                                                 _________________________________
                                                 BETH BLOOM
                                                 UNITED STATES DISTRICT JUDGE

 Copies to: Counsel of Record




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